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 Attorneys and Counselors at Law



VIA EMAIL – jennifer.j.morey@usdoj.gov

November 2, 2021

Jennifer J. Morey
Office of the United States Trustee
150 Court Street, Ste. 302
New Haven, CT 06510

Re:    In re: John Wayne Mocadlo – 21-20971(JJT)

Dear Ms. Morey:

I am in receipt of your letter of October 27, 2021 and have reviewed the same with my client. By
way of background, for nearly two (2) decades Mr. Mocadlo operated multiple successful car
dealerships under Mac Auto Group. In the few years prior to the Petition Date, Mr. Mocadlo owned
and operated The Hartford Auto Group, Inc. (“Hartford Auto”) and Straits Turnpike Automotive,
LLC (“Straits Turnpike”) with two (2) business partners, Mr. Herlof Sorensen (“Sorensen”) and
Mr. Tony Urrutia (“Urrutia”).

In August of 2019, Mr. Mocadlo was poised to open a new General Motors dealership in Milford,
Connecticut. Unfortunately, at that time the country began to experience a financial decline. Then,
in early 2020, the COVID-19 pandemic struck and decimated numerous industries, including the
vehicle sales industry. Despite investing over $500,000.00 for buildout costs and carrying costs,
the new dealership never opened, and that money was unrecoverable.

Mr. Mocadlo then suffered from                                 and, in fact,
       . Upon his release from           , Mr. Mocadlo’s mother began experiencing shortness
of breath. Mr. Mocadlo transported her to the hospital, and thereafter he was informed she had
been diagnosed with an acute form of lymphoma which attacked her heart. Mr. Mocadlo’s mother
passed away on January 14, 2020.

Due to the traumatic personal events outlined above, Mr. Mocadlo was understandably
preoccupied and was not involved with the day-to-day operation of his businesses. Mr. Mocadlo
intended to sell his businesses to his business partners, and executed various documents which, in
effect, transferred operational control of Hartford Auto and Straits Turnpike to Sorenson and
Urrutia. On or about January 30, 2020, Mr. Mocadlo was advised by the companies’ comptroller




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that the businesses were on the verge of insolvency and had fallen out of trust1. Due to his signing
the aforesaid documents, Mr. Mocadlo was prevented from taking any actions to rehabilitate the
dealerships. Mr. Mocadlo did, in fact, attempt to take back operational control of the dealerships
but he was repeatedly denied entry and access to the books and records by Sorensen and Urrutia
and their counsel. Eventually Hartford Auto and Straits Turnpike closed their operations and
defaulted on all of its financial obligations, including some of its payroll.

After investing the majority of his liquid assets into the new Milford dealership that never opened,
Mr. Mocadlo did not have the ability to pay his creditors. Thus, he elected to file Chapter 7
bankruptcy. Mr. Mocadlo does not have any of the business records belonging to Hartford Auto
and Straits Turnpike, therefore in his petition he chose to list all known creditors and assumed
there were personal guarantees attached to the accounts. He also used his best estimate based upon
the information he had to determine the outstanding debt.

With respect to your itemized list of documentation:

    1. Enclosed herewith are the Debtor’s 2018, 2019 and 2020 tax returns;

    2. Enclosed herewith is the Debtor’s latest paystub; he earns a flat $1,000.00 per week;

    3. The Debtor’s bank accounts were frozen due to bank garnishments; he is working to have
       access restored by the financial institutions and will provide the records once received;

    4. The Debtor did not retain a copy of the loan application; he contacted Ally Financial and
       was advised it also did not retain a copy after the loan closed;

    5. Enclosed;

    6. Enclosed;

    7. The Debtor is not in possession of documents responsive to this request;

    8. Enclosed;

    9. Enclosed;


1
 Typically, a local motor vehicle dealership does not purchase its inventory using its own money. A dealership is “out
of trust” when it is found that a vehicle was sold and the dealership did not remit enough proceeds from the sale to
the lender.

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   10. Enclosed (lease and divorce judgment);

   11. Enclosed;

   12. The Debtor shall amend its SOFA

If your office has any further questions regarding the precipitation of Mr. Mocadlo’s Chapter 7
filing, he will certainly do his best to provide answers. However, please be advised that he
continues to not have access to the business records so specifics may be difficult to ascertain.

Sincerely,

/s/ Gary J. Greene

Gary J. Greene, Esq.
ggreene@greenelawpc.com
(860) 676-1336 x.201


GJG\cev




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Christopher Vargo

From:                                         Christopher Vargo
Sent:                                         Tuesday, November 2, 2021 2:44 PM
To:                                           jennifer.j.morey@usdoj.gov
Cc:                                           Gary Greene; Christopher Vargo
Subject:                                      In re Mocadlo 21-20971
Attachments:                                  Letter to UST re history.pdf



Ms. Morey,

Please see attached correspondence. Supporting documents have been uploaded to Dropbox. I will email you
the password under separate cover.

https://www.dropbox.com/sh/a1dp4hghzroknrf/AABpiFOuBFXxUyxsZa4qR3pCa?dl=0

Chris


                      Christopher E. Vargo, Jr. | Paralegal
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Please be advised that among the legal services this law firm provides is debt collection and any information provided by you will be used for that purpose.

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